 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

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UNITED STATES DISTRICT| COURTOCT ) 7 2014

NORTHERN DISTRICTOF TEXAS CLERK, U.S. DISTRIC ZOURT
By — no
Deputy

EXHIBIT AND WITNESS LIST

 

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA
V.
THEODORE OKECHUKU Case Number: 3:13-CR-481 P
PRESIDING JUDGE PLAINTIFF’S ATTORNEY DEFENDANT’S ATTORNEY
Magistrate Judge Renee Harris Toliver Katherine E. Pfeifle John R. Teakell
TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
10/17/2014 FTR Jane Amerson
NG. ae OMDERED MARKED } ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES
1-A_ | 10/17/2014 x xX Tamper free paper

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1-A | 10/17/2014 x x Copy of Prescription dated 6/27/2014

1-B | 10/17/2014 xX xX Copy of Texas Driver's License for Demetrus Cardell

1-C | 10/17/2014 Xx Xx Copies of Prescriptions Raven Clark dated 6/10/2014

1-D | 10/17/2014 xX xX Copy of Precription Matthew Smih/Schmidt

1-E |} 10/17/2014 Xx X Fax Cover Sheet to Detective Perez (Dallas Police Dept) dated 8/1/14

1-F | 10/17/2014 Xx x Fax Cover Sheet to Detective Van Niesen (Richardson Police Dept) dated 7/17/2014

1-G | 10/17/2014 x x Fax Cover Sheet from Richardson Police Department to Theodore Okechuku dated 7/17/14

1-H | 10/17/2014 XxX xX Fax Cover Sheet from Richardson Police Department to Theodore Okechuku dated 7/17/14
2 } 10/17/2014 X X Fake Prescription Alert

2-A | 10/17/2014 Xx Xx Medical Rehab Clinic - Fake Prescription Alert

3-A | 10/17/2014 X Xx Picture

3-B | 10/17/2014 X Xx Picture

3-C | 10/17/2014 Xx X Picture

3-D | 10/17/2014 xX x Picture

3-E | 10/17/2014 xX Xx Picture

3-F | 10/17/2014 X xX Picture

3-G | 10/17/2014 X X Picture

3-H | 10/17/2014 X X Picture

3-1 | 10/17/2014 xX xX Picture

3-J | 10/17/2014 X xX Picture

 

 

 

 

 

 

 

 

* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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Aug. |. 2014 7:21PM _ No. 2326 P.

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Case 3:13-cr-00481-B Bocument 113 Filed 10/17/14. Page 4of16 PagelD 210 a

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KROGER PHARMACY #528
4142 CEDAR GS

DALLAS, TEXAS 75219

PHONE: (214) 599-9861

FAX: (214) 526-3186 -

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Pain Management Clinic
9250 Skiliman Steet Suite 117, Dates, TX, 75242
Tek 214-301-4333 |
DPS-70117110
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City Dalias Ste TX Zip 75227 Aga S1Y $Y Uy
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‘Theadore E. Okechuku, MD
Medical Rehablitation Cinic Of Mesquite
Pain Management Clinic |
$250 Skitman Seat Suite 117. Dao, TX, 75245
Tet 214-301-4333
DPS-70117110

PRACTIONER DEA NUMBER:-BO7523764
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Address:6453 Ethel Dr.

City Dalles State TX Zp 75227 «Age atY
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Dispemee As Wriace

Falgd 10/17/14

 

9250 Sidiman Sweet Suite 117, Dallas, TX, 75243
Tek 214-901-4333
DPS-70117110

PRACTIONER OFA NUMBER: -BO7575764
Palient Name; Rayon Clark,

Addrecs.G453 Ethel Dr.
CiyDales StiIX 2p 75727 AgeSiy
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KROGER PHARMACY # 528
4142 CEDAR SPRINGS
DALLAS, TEXAS 75219
PHONE: (214) $99-9861
FAX: (214) 526/3156
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Medical Director
T & Okechukiu, MD

9205 Skillman

Samm FAX COVER SHEET

Dallas, TX 75243
Phone: 972.279.7377 ~ . . —_
hax 214-349-7200 To Pet cOiye wt S

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Medical Director
Tt Okechukw, MD

RAX COVER SHEET

To PO cheovclewn {eh lice Depastmnsot

Company CY, Dep Van Oosen #1049
Fax Number: qqg 144 S42
Phone Number: qq4Q 744 AS50.

From: Frome ical Koha. (Qinic

Date: WW H2014
RE: kexmissisn tb ie spsec ute

# of pages:

9205 Skillman
Sucle 4117
Dallas, TX 75243

Phone 972-279 7377
fax 214.349.7200

COVER MESSAGE:
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Case 3:13-cr-00481-B Document 113 Filed 10/17/14 Page9of16 PagelD 215 }

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RICHARDSON POLICE DEFT. 140 N. GREENVILLE, RICHARDSON, TX 75081-6046

 

 

 

 

 

 

 

FAX |
Deter OUN204
Number of pages including cover shact: 2
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—_ - _ mY)
TO; FROM: Det R. VanWieren #1042 —~ OV Nao
Theadore Okechuku CAST: 4201400082573

 

 

 

 

PHONE: 972 744 4859 (Main 972 74d 4800)

FAX PHONE: — 214-349-7200 FAX PHONE: _972 744 5921
J an an E-MAIL: Ranald. Vanwieren@cor.gov

 

 

 

 

 

 

 

 

 

Please Fax a signed document advising that the attached prescription form was forged.

 

<—~ LD
_ Thanks for your help 7h A ) WA L) 2
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CONFIDENTIALITY NOTICE;

This facsimile contains confidential IMformation which may alsd be legally privileged and which is Intended
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telephone and return the entire facsimile to us at the below address via U.S, Postal Service,

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RICHARDSON POLICE DEPT. | 140 N. GREENVILLE, RICHARDSON, TX 75081-6046

 

FAX | Date: 07/17/2014 _

Number of pages including cover sheet: 2

 

 

 

TO: | FROM: Det R. VanWieren #1042
Theadore Okechuku CASE: #201400082573

 

 

PHONE: 972 744 4859 (Mnin 972 744 4800)

FAX PHONE: _ 214-349-7200 FAXPHONE: 972 744 5921
pee E-MAIL: Ronald. Vanwieren@cor.gov

 

 

 

 

 

 

 

 

 

 

Please I'ax a signed document advising that the attached prescription form was forged.

 

 

_ Thanks for your help

 

 

 

 

 

 

 

 

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Medical Rehabilitation Clinic
9205 Skillman st Suite 117 Dallas, Tx 75243
Phone: 972-279-7377
Fax: 214-349-7200

ATTENTION ALL PHARMACIES!

Fake Prescriptions Alert!

THIS IS TO INFORM ALL PHARMACIES THAT IT HAS COME TO OUR ATTENTION THAT THERE ARE
PERPETRATORS WHO ARE FRAUDULENTLY WRITING PRESCRIPTIONS FOR CONTROLLED
SUBSTANCES UNDER THE NAME OF DR. THEODORE.OKECHUKU AND MEDICAL REHABILITATION
CLINIC OF MESQUITE,

INDICATORS THAT THESE ARE FRAUD INCLUDE BUT ARE NOT LIMITED TO: (1) THEIR
PRESCRIPTION PADS LOOK NOTHING LIKE OURS, (2) THE ADDRESS IS WRONG, (3) DR’S DPS IS
WRONG AND (4) THE PHONE NUMBER IS NOT OUR OFFICE NUMBER (5) NO ONE EVER PICKS UP
WHEN PHARMACIES CALL FOR VERIFICATION, IT GOES TO VOICEMAIL (6) THE SUPPOSED PATIENTS
PHONE NUMBER AND D.O.B. ARE ALMOST SIMILAR WITH A FEW VARIABLES, (7) IT IS OBVIOUS THEY ARE
COPYING OUR ORIGINAL SCRIPT.

WE ARE OFFICIALLY INFORMING YOU THAT THESE PRESCRIPTIONS ARE FRAUD, AND THESE PATIENTS
ARE NOT OUR PATIENTS. PLEASE CALL TO VERIFY ALL PRESCRIPTIONS FROM THIS OFFICE AND DO NOT
HESITATE TO CONTACT MEDICAL REHAB. CLINIC AND THE POLICE DEPARTMENT IF THESE
PRESCRIPTIONS AND PERPETRATORS SHOW UP IN YOUR PHARMACY!

OUR REPUTATION IS BEING TARNISHED BY THESE ACTIONS AND WE WILL APPRECIATE IT IF
COLLECTIVELY WE ALL WORK TO STOP THESE FRAUDSTERS!!!!!!!

ENCLOSED WITH THIS LETTER tS A COPY OF WHAT THEIR PRESCRIPTION LOOKS LIKE............

THANK YOU FOR YOUR CO-OPERATION,

CHICHI NOSIKE, RN ' DEFENDANT'S
OFFICE MANAGER EXHIBIT

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No. 3/2"

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